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UNITED STATES DlSTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
CASE NO.:

BARRY BORIS BERLER,
Plaintiff,

Vs.

ClTY OF AVENTURA POLICE DEPARTMENT,
CITY OF AVENTURA, TERRY SCOTT, individually
and JOSEPH CRAIG, individually,

Defendants.
_ __ /

COMPLAINT
COMES NOW the Plaintiff, BARRY BORIS BERLER (hereinafter referred to

alternatively as “BERLER” and/or Plaintiff) and sues the Defendants, CITY OF AVENTURA
PGLICE DEPARTMENT (hereinafter referred to as “AVENTURA PD”), the CITY OF
AVENTURA (hereinafter referred to as “AVENTURA”), TERRY SCOTT (hereinafter referred

to as “SCOTT”) and JOSEPH CRAIG (hereinafter referred to as “CRAIG”) and alleges as

follows:

PRELIMINARY ALLEGATI()NS

(PARTIES, JURISDICTION AND VENUE)

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l. This is an action for damages arising from the malicious prosecution and related violation of
the Plaintiff`s civil rights arising from the improper arrest, detention and criminal prosecution of

the Plaintiff by the Defendants.

2. At all times material hereto the Plaintiff, BERLER, is a natural person, sui juris, domiciled

and residing in Huntingdon Valley, Montgomery County, Pennsylvania.

3. At all times material hereto the Defendant, AVENTURA PD, is a municipal police

department, conducting law enforcement activities Within the City of Aventura, l\/liami-Dade

County, Florida

4. At all times material hereto the Defendant AVENTURA is a municipality Whose governing
officials, city hall, offices, officers and officials and staff are located and carry out official

business in Aventura, Miami-Dade County, Florida.

5. At all times material hereto the Defendant, SCOTT, is a natural person, sui juris, and believed
to be domiciled and residing in Miami-Dade County and/or South Florida. Defendant, SCOTT
Was employed by the Defendants, AVENTURA PD and/or AVENTURA. Defendant SCOTT is

joined herein in his personal capacity as a result of the improper actions and violations

complained of herein.

6. At all times material hereto the Defendant, CRAIG, is a natural person, sui juris, and
believed to be domiciled and residing in Miami-Dade County and/or South Florida. Defendant,
CRAIG Was employed by the Defendants, AVENTURA PD and/or AVENTURA. Defendant,
CRAIG is joined herein in his personal capacity as a result of the improper actions and

violations complained of herein.

 

 

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7. This Court has original subject matter jurisdiction based upon the diversity of jurisdiction
requirements set forth within 28 USC § 1332 (a) (l), as Well as having jurisdiction for the claims

brought for violation of the Plaintiff’s civil rights under 42 USC § l983.

8. With respect to the requirements set forth in 28 USC § 1332 (a) (l), there is a complete
diversity of citizenship of the parties and further the Plaintiff, BERLER has suffered

compensable injuries and seeks damages in excess of the sum of $75,000.00.

9. Venue is proper in the United States District Court for the Southern District of Florida in that
the acts complained of have occurred in Miami-Dade County, Florida and further that the
Defendants, AVENTURA PD and AVENTURA are municipal law enforcement agency and a
municipality, respectively, located and headquartered in Miami-Dade County, Florida. In
addition, the Defendants, SCOTT and CRAIG are believed to reside in Miami-Dade County,

Florida, or other counties or parts of the Southern District of Florida.

lO. At all times material hereto, the Plaintiff duly, properly and timely provided Written notice
of his claim(s) by Way of certified letter to the City of Aventura, With copies to Florida
Department of lnsurance and Defendant, AVENTURA’s City Clerk and City l\/lanager. The
subject notice Was provided in accordance With the dictates and requirements of Florida Statute
768.28 and Was received by the recipients The claim Was effectively denied and the demand set

forth therein rejected A true and correct copy of the Plaintiff`s “Notice of Claim” is attached

hereto as EXhibit “A”.

ll. Any and all other conditions precedent to bringing this action have occurred or have

otherwise been excused or Waived by the Defendants.

FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

 

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l2. On January 22, 20l4, the Plaintiff, BERLER, along with his wife, Sally Berler, appeared at

the City of Aventura’s Police Department to enlist the assistance of Defendant, AVENTURA’s

police department and its staff to locate a missing relative.

13. The Plaintiff,‘BERLER and his wife were attempting to determine the whereabouts of the

Plaintiff` s sister in law (Tziona Ben Aharon), whose last known address was within the City of
Aventura, and who is now deceased The Plaintiff sought the assistance of the Aventura Police
Department at the suggestion of the Hallandale Police Department, as the Plaintiff Was staying

in Hallandale and initially contacted the Hallandale Police Departmentl

l4. After waiting approximately twenty minutes to speak with an officer, Plaintiff, BERLER
and his wife were escorted into an interview room. A discussion with Defendant, SCOTT
ensued, with the Plaintiff and his wife providing background information in support of their
missing person report. Defendant, SCOTT proceeded to make a phone call and in the Wake of
that phone call, informed the Plaintiff and his wife that their sister in law (Tziona Ben Aharon)
was in Orlando and nothing further could be done. In addition, Plaintiff and his wife were told

not to return to the Defendant, AVENTURA PD.

15. The Plaintiff, BERLER and his wife left the room and said thank you. Upon exiting the
interview room with Defendant, SCOTT, with no provocation, threat or basis for any actual or

perceived wrongdoing or criminal action by Plaintiff, the Plaintiff, BERLER was assaulted

l6. Without any cause or justification whatsoever, Defendant SCOTT, along with two other
uniformed officers (one of which is believed to be Defendant, CRAIG), jumped the Plaintiff,

delivered blows to the Plaintiff, and forcibly manhandled and mishandled the Plaintiff Plaintiff,

 

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BERLER was thrown to the ground and handcuffed and placed under arrest without justification

or probable cause.

l7. According to the subject arrest affidavit, Plaintiff, BERLER was charged with disorderly
conduct and breach of the peace. A copy of the subject arrest affidavit is attached as Exhibit

“B”. lt is notable that those charges were ultimately dismissed and no criminal offense had been

adjudicated to have occurred See Exhibit “C”.

18. Following his arrest, the Plaintiff was held in custody at Defendant, AVENTURA PD and
then transferred to the l\/liami Dade Correction Department at the Turner Guilford Knight
Correctional Facility. All the while, the Plaintiff and his wife advised the Defendants that

Plaintiff, BERLER was diabetic and desperately needed medication Such pleas fell on deaf ears.

l9. Upon observing the physical condition of Plaintiff, BERLER, personnel at the Department
of Corrections advised the arresting offices that the Plaintiff appeared to be in need of immediate
medical attention and that he should be taken to a hospital for care. The Defendant,
AVENTURA PD, via its police officers, then transported Plaintiff to the emergency room at the
hospital ~ all the while keeping Plaintiff, BERLER, in handcuffs and severely restraining his

circulation and caused him to be in great pain despite Plaintiffs lack of resistance

20. The medical staff admitted Plaintiff, BERLER, into the hospital and documented a litany of
serious conditions and problems which were directly attributable and proximately caused by the

improper conduct, false arrest, malicious prosecution, and use of excessive force and excessive

restraint imposed by the Defendants.

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2l. Plaintiff, BERLER, was ultimately admitted to the hospital and remained hospitalized for a

period of two days while his escalated blood pressure and other serious health concerns were

evaluated and treated

22. As a direct and proximate cause and result of the actions of the Defendants described above,
the Plaintiff, BERLER suffered injuries, pain and suffering, humiliation and physical and mental
anguish, as well as having incurred medical bills and expenses for medical care and treatment

Such damages well exceed the sum of $75,000.00.

23. All conditions precedent to the bringing of this action have occurred and/or have been
excused or waived by the Defendants, including but not limited to proper “Notice of Claim”
pursuant to Florida Statute 768.28 having been duly and timely provided to the Defendants, as

more fully appears by Exhibit “A”. In addition, a “Renewed Notice of Claim” was additionally

served upon the Defendants as more fully appears by Exhibit “D”.
24. The Defendants have rejected the claim, thereby prompting the bringing of this action.

25. The actions of the Defendants, including but not limited to improper conduct, false arrest,
malicious prosecution, and use of excessive force and excessive restraint imposed by the
Defendants were willful, wanton, and committed with a callous disregard of the health, safety,
welfare of the Plaintiff, BERLER, and were carried out with complete and utter disregard of the
life, liberty, safety, and protections afforded to the Plaintiff under state and federal law. As
such, the Plaintiff hereby reserves the right to seek imposition of punitive damages upon the
bringing of an appropriate motion and application of the Court, suitable evidentiary showings

and proffers, and following leave of Court to assert such claims for punitive damages

COUNT l _ MALICIOUS PROSECUTION

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(As to Defendants, CITY ()F AVENTURA POLICE DEPARTMENT, CITY OF AVENTURA,

TERRY SCOTT, INDIVIDUALLY AND JOSEPH CRAIG, INDIVIDUALLY)

26. The Plaintiff, BERLER, readopts and realleges the allegations contained in paragraphs l

through 25 above as though more fully set forth herein.

27. At all times material hereto, the Defendants, AVENTURA PD, AVENTURA, SCOTT and
CRAIG, caused to be commenced and/or facilitated the continuation of an original criminal
prosecution More specifically, on or about January 23, 20l4 the Defendants caused to be
issued and otherwise sworn out a “Complaint/Arrest Affidavit” charging the Plaintiff, BERLER,
with the crime of disorderly conduct/breach of the peace as alleged violation(s) of Florida Statute
877.03. A true and correct copy of the “Complaint/Arrest Affidavit” is attached hereto as

Exhibit “B”.

28. The charges and allegations set forth within the “Complaint/Arrest Affidavit” were

materially false and were without basis in fact or law.

29. As a direct and proximate cause of the Defendants having issued and otherwise sworn out
the subject “Complaint/Arrest Affidavit” appearing at Exhibit “B”, the complaint and arrest
affidavit caused and otherwise resulted in the commencement and continuation of criminal
proceedings against the Plaintiff, BERLER. The criminal proceedings were captioned, styled
and otherwise referenced as State of Florida v. Barry Berler, brought and carried out in the

Circuit and County Courts of the Eleventh Judicial Circuit in and for Miami, Dade-County,

Florida and assigned case number Bl4-4053.

30. The criminal proceeding referenced immediately above (State v. Berler) resulted in a bona

fide termination of such original criminal proceeding in favor of the Plaintiff, BERLER -

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specifically the entry of a nolle pros of the charge(s), the nolle pros having been entered by such

court on April 24, 20l4. A copy of the clerk’s record reflecting such disposition in favor of the

Plaintiff is attached hereto as Exhibit “C”.

3 l. At all times material hereto, there was an absence and lack of probable cause for the arrest,
criminal charges, and continued prosecution of the Plaintiff, BERLER. The Defendants did not
have any reason(s) which would have been sufficient to create a reasonable belief that a crime

had been committed, and that the Plaintiff, BERLER was duly or properly accused of and/or

charged with such crime.

32. The actions of the Defendants in arresting, charging, issuing the “Complaint/Arrest

Affidavit” and facilitating and supporting an ongoing prosecution of the criminal case against the

Plaintiff was carried out With malice.

33. As a direct and proximate result of the malicious prosecution of the Plaintiff, BERLER, the
Plaintiff suffered compensable damages and losses which include, but are not necessarily limited
to, injuries, pain and suffering, humiliation and physical and mental anguish, as well as having

incurred medical bills and expenses for medical care and treatment Such damages, well exceed

the sum of $75,000.00.

WHEREFORE the Plaintiff, BERLER, demands judgment against the Defendants, CITY OF
AVENTURA POLICE DEPARTMENT, CITY OF AVENTURA, TERRY SCOTT,
INDlVlDUALLY AND JOSEPH CRAIG, INDIVIDUALLY for damages in excess of the sum
of $75,000.()0, together with costs of suit and such other and further relief as this Court may

deem just and proper. The Plaintiff, BERLER further demands trial by jury of all issues so

triable.

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COUNT ll - VlOLATlON OF CIVL RIGHTS; 42 U.S.C. SECTION l983

(As to Defendants, AVENTURA PD, TERRY SCOTT, INDIVIDUALLY AND JOSEPH

CRAIG, INDIVIDUALLY)

34. The Plaintiff, BERLER, readopts and realleges the allegations contained in paragraphs l

through 25 above as though more fully set forth herein.

35. At all times material hereto, Defendant, AVENTURA PD is a municipal police department,

conducting law enforcement activities within the City of Aventura, Miami-Dade County, Florida.

36. At all times material hereto, Defendant, SCOTT, was employed by the Defendants,
AVENTURA PD and/or AVENTURA. Defendant SCOTT is joined herein in his personal

capacity as a result of the improper actions and violations complained of herein.

37. At all times material hereto, Defendant, CRAIG, was employed by the Defendants,
AVENTURA PD and/or AVENTURA. Defendant CRAIG is joined herein in his personal

capacity as a result of the improper actions and violations complained of herein.

38. At all times material hereto, Defendants, SCOTT and CRAIG were acting as police officers
employed by the AVENTURA PD and/or AVENTURA, and as such acted under color of state
law pursuant to authority possessed by such Defendants as police officers employed by such

municipal, governmental and/or state agencies

39. Defendants, SCOTT and CRAIG acted towards the Plaintiff in the manner described in the
preliminary allegations (set forth within paragraphs l through 25 above) under color of statutes,

ordinances, authority, and laws of the State of Florida.

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40. At all times material hereto, the Defendants, AVENTURA)PD, AVENTURA, SCOTT and
CRAIG, caused to be commenced and/or facilitated the continuation of an original criminal
prosecution More specifically, on~or about January 23, 2014 the Defendants caused to be issued
and otherwise sworn out a “Complaint/Arrest Affidavit” charging the Plaintiff, BERLER, with
the crime of disorderly conduct/breach of the peace as alleged violation(s) of Florida Statute
877.03. A true and correct copy of the “Complaint/Arrest Affidavit” is attached hereto as

Exhibit “B”.

41. The charges and allegations set forth within the “Complaint/Arrest Affidavit” were

materially false and were without basis in fact or law.

42. As a direct and proximate cause of the Defendants having issued and otherwise sworn out
the subject “Complaint/Arrest Affidavit” appearing at Exhibit “C”, the complaint and arrest
affidavit caused and otherwise resulted in the commencement and continuation of criminal
proceedings against the Plaintiff, BERLER. The criminal proceedings were captioned, styled
and otherwise referenced as State of Florida v. Barry Berler, brought and carried out in the

Circuit and County Courts of the Eleventh Judicial Circuit in and for Miami, Dade-County,

Florida and assigned case number B14-4053.

43. The criminal proceeding referenced immediately above (State v. Berler) resulted in a bona
fide termination of such original criminal proceeding in favor of the Plaintiff, BERLER -
specifically the entry of a nolle pros of the charge(s) having been entered by such court on April

24, 2014. A copy of the clerk’s record reflecting such disposition in favor of the Plaintiff is

attached hereto as Exhibit “C”.

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44. At all times material hereto, there was an absence and lack of probable cause for the arrest,
charges and continued prosecution of the Plaintiff, BERLER. The Defendants did not have any
reason(s) which would have been sufficient to create a reasonable belief that a crime had been

committed, and that the Plaintiff, BERLER was duly or properly accused of and/or charged with

such crime.

45. The actions of the Defendants in arresting, charging, issuing the “Complaint/Arrest
Affidavit” and facilitating and supporting an ongoing prosecution of the criminal case against the

Plaintiff was carried out with malice.

46. As a direct and proximate result of the malicious prosecution ofthe Plaintiff, BERLER, the
Plaintiff suffered compensable damages and losses which include, but are not necessarily limited
to, inj uries, pain and suffering, humiliation and physical and mental anguish, as well as having
incurred medical bills and expenses for medical care and treatment Such damages well exceed
the sum of $75,000.00. These damages are compensable for the violations of Plaintiff,

BERLER’s civil rights set forth immediately below.

47. The actions described above (paragraphs 40 - 46) constitute a malicious prosecution of the
Plaintiff, BERLER. Such actions are a violation of the Plaintiff’ s federal right to be free from
malicious prosecution and the right to be free from an unlawful seizure which is part of the prior
arrest and prosecution of Plaintiff, BERLER. These actions constituted a violation of the
Plaintiffs Fourth Amendment rights under the U.S. Constitution. At all times material hereto,
the Plaintiff had the right to be free from unreasonable seizure, and such right was violated by

the Defendants, AVENTURA PD, SCOTT and CRAlG.

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WHEREFORE the Plaintiff, BERLER, demands judgment against the Defendants, CITY OF
AVENTURA POLICE DEPARTMENT, TERRY SCOTT INDIVIDUALLY and JOSEPH
CRAIG, INDIVIDUALLY resulting from the violation of Plaintiff s civil rights, said damages
being in excess of the sum of $75,000.00, together with costs of suit and such other and further
relief as this Court may deem just and proper. The Plaintiff, BERLER further demands trial by

jury of all issues so triable.

RESPECFULLY SUBMITTED BY UNDERSIGNED COUNSEL, THIS 18th DAY OF APRIL,

2018.

LAWRENCE J. SHAPIRO & ASSOCIATES, P.A.
Counsel for Plaintiff, BARRY BORIS BERLER
Latitude One, Suite 1600

175 S.W. 7“1sireer

l\/liami, Florida 33130

Tel. (305) 379-3111

E~Mail: Lshapiro@Lisfirin.com; Pleadings@Ljsfirm.com

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awrence J. Shapiro; FBN: 079608

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LAW OFFICES

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E-Mail:LSHAPIRO@LJSFIRM.COM

 

 

January 11,2017

VIA CERTIFIED MAIL
RETURN _RECEIPT

City of Aventura

c/o Legal Department ~ City Attorney
19200 West Country Club Drive
Aventura, Florida 33180

NOTICE OF CLAIM

Re: Pre-Suite Notification of Claim Pursuant to Florida Statute 768.28

Claimants: Barry Boris Berler & Sally Berler
Dates of Birth for Claimants: Barry Boris Berler“& Sally Berler~

Places of Birth for Claimants: Barry Boris Berler: Lvov, Poland (currently part of

Ukraine) & Sally Berler: Casablanca, Morrocco
Social Security Number for Claimants: Barry Boris Berler:_& Sally Berler:

Adjufiica_ted ,Unpaid Clai`ms Owed by` the Claimants: None

Dear Sir/Madam:

PLEASE BE ADVISED, that the undersigned attorney, working in conjunction with Steven K.
Schwartz, Esq. of the Law Offices of Steven K. Schwartz, P.A. have the pleasure and privilege
of serving as counsel to claimants Barry Boris Berler and Sally Berler, his wife. Please consider
this communication and the matters set forth herein as pre-suit notice of my clients’ claim for
personal injury damages, medical expenses and loss of consortium arising from and directly and
proximately caused by the negligence and tortious conduct of officer(s) acting Within their
official positions and While on duty at the City of Aventura’s police department as more fully
described below. This notice is provided pursuant to Florida Statute 768.28.

EXHIBIT "A"

     

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On January 22, 2014 the claimants, Barry Boris Berler and Sally Berler appeared at the City of
Aventura’s police department to enlist the assistance of the City’s police department and its staff
to locate a missing relative. More specifically, the claimants were attempting to determine the
whereabouts of Mr. Berler’S sister in law (Tziona Ben Aharon), whose last known address was
within the City of Aventura, and who is now deceased The claimants sought the assistance of
the Aventura Police Department at the suggestion of the Hallandale Police Department After
waiting twenty minutes to Speak with an officer, the Berlers were escorted into an interview
room. A discussion with Sergeant Terry Scott ensued with claimants providing background
information in support of their missing persons report Sergeant Scott proceeded to make a
phone call and in the wake of that phone call, informed the claimants that there sister in law
(Tziona Ben Aharon) Was in Orlando and nothing further could be done. In addition, the
claimants were told not to return to the Aventura Police Department

The claimants left the room and said thank you. Upon exiting the interview with Sergeant Scott,
with no provocation or basis, Mr. Barry Berler was assaulted Without any cause or justification
_Whatsoever, Sergeant Terry Scott, along with two other uniformed officers, jumped claimant,
delivered blows and forcibly mishandled the claimant Barry Berler, and threw him to the ground
and placed him under arrest and handcuffed Mr. Berler without justification or probable cause.
According to the subject arrest affidavit Mr. Berler was charged with disorderly conduct and
breach of the peace. lt is notable that those charges were ultimately dismissed and no criminal

offense had been adjudicated to have occurred

Mrs. Sally Berler was threatened with arrest and she was horrified and bore witness to the
assault and unjustified arrest of her husband The claimants were extremely traumatized by the
actions of the uniformed officers who essentially attacked claimant Barry Berler. Mr. Berler was
held in custody at the City of Aventura Police Department and then transferred to the Miami-
Dade Correction Department at the Turner Guilf`ord Knight Correctional Facility. All the while,
the claimants advised the Aventura Police Department via its officers that Mr. Berler was
diabetic and desperately needed medication Such pleas fell on deaf ears.

Upon observing the physical condition of claimant Barry Berler, personnel at the Department of
Corrections advised the arresting officers that claimant appeared to be in need of immediate
medical attention and that he should be taken to a hospital for care The Aventura police officers
then transported Mr. Berler to the emergency room at Aventura Hospital- all the while keeping
Mr. Berler in handcuffs that severely restrained his circulation and caused him to be in great
pain despite his lack of resistance The medical staff admitted Mr. Berler into the hospital and
documented a litany of serious conditions and problems which we believe were directly
attributable and caused by the improper conduct, false arrest, excessive force and excessive
restraint imposed by the City of Aventura’ s police department and its officers Mr Berler was
ultimately admitted to the Aventura Hospital and remained hospitalized for a period of two days
while his escalated blood pressure and other serious health concerns were evaluated and treated

At present the total medical bills incurred by the claimant, Barry Berler are estimated to be in the
sum total of Fifteen Thousand and 00/100 Dollars ($15,000.00). This figure, coupled with the
pain, suffering, humiliation and physical and mental anguish sustained by the claimants yield a

 

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claim which we value at well over the statutory maximum of Two Hundred Thousand and
00/100 Dollars ($200,000.00). In an effort to resolve this matter without resort to litigation, we
have been authorized to offer a pre-suit settlement and claim demand of One Hundred Seventy
Five Thousand and 00/ 100 Dollars ($175,000.00) in full and final settlement of these claims and
in consideration of which, a General Release and appropriate and mutually acceptable settlement
documents would be provided by Mr. and Mrs. Berler to the City of Aventura. This is a pre-suit
demand for settlement and nothing shall be construed to limit or otherwise suggest that should
litigation-become necessary, this sum shall not be deemed to be a limitation of our clients’ claim
for damages This pre-suit demand and settlement offer is submitted with a full reservation of all

rights that the claimants may have.

Please see to it that this claim is forwarded to any insurance carrier who may provide coverage
for the acts set forth abovc. ln addition, please provide disclosure of such coverage as follows:

ln accordance with Florida Statute 627.4137 (formerly F.S. 627.7264), we hereby request a
sworn statement setting forth the following information With regard to each known policy of
insurance including excess or umbrella insurance, which does or Will provide coverage for the

acts and injuries complained of, as follows:

A. The name of the insured;
B. The name of the insurer;

C. The limits of liability coverage;
D. A statement of any policy or coverage defenses which said insurer reasonably believes is

available to said insurer at the time of filing said statement;
E. A copy of the policy.

By virtue of courtesy copy of this correspondence, we are further placing the Florida Department
of Insurance on notice of this claim. While we recognize that the City of Aventura and/or the

Department of Insurance shall have up to six months in which to respond to this notice of claim,
we ask for the courtesy o l` a response to our notice of claim and pre-suit demand within the next

sixty (60) days

 
 

ence J. Shapiro

     

cc: Florida Dept. ofInsurance
Additional Copies Furnished to:

Elisa M. Horvath, City Clcrk
Eric M. Soroka, City Manager

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LAw OFFrcEs

LAwRENcE J. SHAi>rRo & AssoCiATEs
PRoFEssioNAL AssociATioN

 

Latitude One, Suite 1600

    

 

 
  

   
 

 

 

 

 

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Clalmants: Barry Boris Berler & Sally Berler 3 ' § § § § § §
Dates of Birth for Claimants: Barry Boris Berler ` § §§ § § .
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Ukraine) & Sally Berler: Casablanca, Morrocco m 5 §§ g g\\§§
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Adju§icated Unpaid Clainis Owed by the Claimants: Ns 4 ~

Dear Sir/Madam:

PLEASE BE ADVISED, that the undersigned attorney, working in conjunction with Steven K.
Schwartz, Esq. of the Law Offices of Steven K. Schwartz, P.A. have the pleasure and privilege
of serving`as counsel to claimants Barry Boris Berler and Sally Berler, his wife. Please consider
this communication and the matters set forth herein as pre-suit notice of my clients’ claim for
personal injury damages medical expenses and loss of consortium arising from and directly and
proximately caused by the negligence and tortious conduct of officer(s) acting within their
official positions and While on duty at the City of Aventura’s police department as more fully
described below. This notice is provided pursuant to Florida Statute 768.28.~ '

      

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LAW OFFICES

LAWRENCE J. SHAPrRo & ASSOCIATES
PROFESSIONAL ASSOCIATION ,-

  
  

      
 

 

 

 

 

 

 

 

       

 

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City of Aventura

c/o Legal Department ~ City Attorney
19200 West Country Club Drive
Aventura, Florida 33180

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RENEWED NOTICE OF C

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Re: Pre~Suit Notification of Claim Pursuant to Florida §
Claimants: Barry Boris Berler & Sally Berler

Dates of Birth for»Claimants: Barry Boris Berler

Places of Birth for Claimants: Barry Boris Berler: Lvov
Ukraine) & Sally Berler: Casablanca, Morrocco d
So ' 'ty Number for Claimants_: Barry Boris Berler:

so that We can return the card to you.
l Attach this card to the back of the mailpiece,

item 4 if Restricted Delivery is desired.
l Print your name and address on the reverse

or on the front if space permits.

l Comp|ete items 1, 2, and 3. Also complete
25 1. Article Addressed to:

SENDER: COMPLETE THlS SECTION

 

 

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Adj§i;iicated Unpaid Claims `Owed by the Claimants: None

/ /.

Dear Sir/Madarn:

As you have been previously been made aware, the undersigned attorney Working in conjunction
with Steven K. Schvvartz, Esq. of the Law Offices of Steven K. Schwartz, P.A. have been duly
engaged by Borris Berler and Sally Berler, his wife (collectively “Claimants”), related to the
injuries and losses specified in the January 11, 2017 “Notice of Claim”. I am once again
providing a copy of the previously submitted notice on behalf of the Claimants. The United
States Postal Servicc records indicate that the Notice of Claim Was received by the City of
Aventura on January 17, 2017 - yet to date We have not received any reply or disclosure of
insurance coverage as previously requested '

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City of Aventura

c/o Legal Department - City Attorney
19200 West Country Club Drive
Aventura, Florida 33180

February 28, 2017
Page 2.

Please see to it that this renewed notice of claim is forwarded to any insurance carrier who may
provide coverage for the acts set forth within the January ll, 2017 “Notice of Claim”. In
addition, please provide disclosure of such coverage as follows:

In accordance with Florida Statute 627.4137 (formerly F.S. 627.7264), we hereby request a
sworn statement setting forth the following information with regard to each known policy of
insurance including excess or umbrella insurance, which does or will provide coverage for the
acts and injuries complained of, as follows:

A. The name of the insured;

B. The name of the insurer;

C. The limits of liability coverage; -

D. A statement of any policy or coverage defenses which said insurer reasonably believes is

available to said insurer at the time of filing said statement;
E. A copy of the policy.

By virtue of courtesy copy of this correspondence, we are once again placing the Florida
Department of lnsurance on notice of this claim. While we recognize that the City of Aventura
and/or the Department of Insurance shall have up to six months in which to respond to the initial

notice of claim, we ask for the courtesy of a response to our previously submitted notice of claim
and pre-suit demand within the next thirty (3 ()) days.

Respectfully,

Lawrence J. Shapiro
cc: Florida Dept. of Insurance
Additional Copies Furnished to:

Elisa M. Horvath, City Clerk
Eric M. Soroka, City Manager

 

Cas_e 1:18-cv-21534-RNS`§Document 1 Entered on FLSD D§bgl'<cet 04/18/2018 _`Page 25 of 25

LAW OFFICES

LAWRENCE J. SHAPIRO & AssoCIATES
PROFESSIONAL ASSOCIATION

 

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Latitude One, Suite 1600
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Miami, Florida 33130 E-Mai|:L
Miami-Dade Telephone: (305) 379-3111 ‘
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c/o Legal Department - City Attorney
' 19200 West Country Club Drive
Aventura, Florida 33180

 

 

 

 

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RENEWED NOTICE OF CLAIM

Re: Pre-Suit Notification of Claim Pursuant to Florida Statute 768.28

Claimants: Barry Boris Berler & Sally Berler
Dates of Birth for Claimants_: Barry Boris Berler - & Sally Berler-
Places of Birth for Claimants: Barry Boris Berler: Lvov, Poland (currently part of

Ukraine) & Sally Berler: Casablanca, Morrocco

Social Sec ity Number for Claimants‘:. Barry Boris Berler: _ & Sally Berler:
Adju'g' _'cated Unpaid Claims Owed by the Claimants: None

Dear Sir/Madam:

As you have been previously been made aware, the undersigned attorney working in conjunction
with Steven K. Schwartz, Esq. of the Law Offices of Steven K. Schwartz, P.A. have been duly
engaged by Borris Berler and Sally Berler, his wife (collectively “Claimants” , related to the
injuries and losses specified in the January 11, 2017 “Notice of Claim”. 1 am once again
providing a copy of the previously submitted notice on behalf of the Claimants. The United
States Postal Service records indicate that the Notice of Claim was received by the City of
Aventura on January 17, 2017 - yet to date We have not received any reply or disclosure of

insurance coverage as previously requested

